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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     WHATSAPP INC., et al.,                             Case No. 19-cv-07123-JSC (INT)
                                                        Plaintiffs,
                                   8
                                                                                            ORDER REASSIGNING CASE
                                                 v.
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                                  10     NSO GROUP TECHNOLOGIES
                                         LIMITED, et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          IT IS ORDERED that this case has been reassigned using a proportionate, random and

                                  14   blind system pursuant to General Order No. 44 to the Honorable Phyllis J. Hamilton in the

                                  15   Oakland division for all further proceedings. Counsel are instructed that all future filings shall

                                  16   bear the initials PJH immediately after the case number.

                                  17          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  18   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  19   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  20   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  21   remain unchanged.

                                  22   Dated: March 20, 2020

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                                                                                         Susan Y. Soong
                                  25                                                     Clerk, United States District Court
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                                  28   A true and correct copy of this order has been served by mail upon any pro se parties.
